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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION
                                                                                 FILED
 UNITED STATES OF AMERICA
                                                                                  JUN 1 0 2021
 v.                                                    No. 4:21-CR-125
                                                                             CLERK, U.S. DISTRICT COURT
                                                       Judge Jordan
                                                                             EASTERN DISTRICT OF TEXAS
 ALFRED LEE MASSIE JR. (1)
 ID SIOMMONS MASSIE (2)
 ANTHONY WAYNE JONES JR. (3)


                              FIRST SUPERSEDING INDICTMENT

 The United States Grand Jury charges:

                                              Count One

                                               Violation: 18 U.S.C. §§ 371, 922(u) & 2
                                               (Conspiracy to Steal Firearms from a Federally
                                               Licensed Firearms Dealer; Aiding and Abetting)



         Beginning on or about April 10, 2021, the exact date being unknown to the Grand

 Jury, through and including the date of the filing of this indictment, in the Eastern District

 of Texas, and elsewhere, defendants, ALFRED LEE MASSIE JR., ID SIOMMONS

 MASSIE and ANTHONY WAYNE JONES JR., (hereinafter coconspirators ) did

 knowingly and willfully combine, conspire and agree with each other and other persons

 known and unknown to the United States Grand Jury to knowingly steal, unlawfully take,

 and carry away firearms from the premises of a federally licensed firearms dealer, all of

which had been previously shipped and transported in interstate commerce, in violation

 of 18 U.S.C. §§ 922(u) and 924(i)(l).
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                       MANNER AND MEANS OF THE CONSPIRACY

          It was part of the conspiracy that the defendants, along with other persons known

 and unknown to the Grand Jury, would and did:

          1. Recruit members to the conspiracy;

          2. Identify a victim federally licensed firearms dealer which possessed firearms at

              its place of business;

          3. Obtain entry into the premises of the federally licensed firearms dealer without

              permission;

          4. Steal and remove a number of firearms from the business inventory of the

              federally licensed firearms dealer; and

          5. Possess, conceal, store, barter, sell and dispose of the stolen firearms to actors


              known and unknown to the Grand Jury.

                                               OVERT ACTS

          In furtherance of the conspiracy and to affect the objects thereof, the defendants,

 along with other persons known and unknown to the Grand Jury, committed the

 following overt acts, among others, in the Eastern District of Texas:

          6. On or about April 19, 2021, the defendants and coconspirators drove the

              ALFRED MASSIE JR. s black Chevy Impala to SK Arms, a federally licensed

              firearms dealer (FEE) located in Flower Mound, Denton County, Texas;

          7. Thereafter, upon arrival, the defendants and coconspirators made unlawful entry


              into SK Arms by backing the Impala into and through the glass entry way;

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          8. Once inside, the defendants and coconspirators moved throughout the store,

              smashing display cases and retrieving firearms and firearms accessories; and

          9. The defendants and coconspirators unlawfully stole, took and carried away the

              following firearms which were in the business inventory of SK Arms:

                  a. KEL-TEC, PMR-30, .22 caliber pistol, bearing serial number: WY0F40
                  b. TAURUS, GC3, 9mm pistol, bearing serial number: ACC653444
                  c. BERETTA, 92A1, 9mm pistol, bearing serial number: B1N017371
                  d. SMITH&WESSON, PC M&P SF, 9mm pistol, bearing serial number:
                      JFS5435
                   e. GLOCK, G48 MOS, 9mm pistol, bearing serial number: BSNW335
                   f. GLOCK, G45, 9mm, bearing serial number: BTE1A785
                   g. GLOCK, G44, 9mm pistol, bearing serial number: AFFV423
                  h. CZ, SELADOW 2, 9mm pistol, bearing serial number: F000309
                   i. HK, VP9L OR, 9mm pistol, bearing serial number: 238-009769
                  j. HK, P30S, 9mm pistol, bearing serial number: 129-095857
                  k. HK, VP9 Green, 9mm pistol, bearing serial number: 224-318173
                   l. HK, VP9 FDE, 9mm pistol, bearing serial number: 224-313606
                  m. HK, HK45-V1, .45 caliber pistol, bearing serial number: HKU-054116
                  n. ZEV TECHNOLOGIES, AR15-CE-30, .300 caliber AR pistol, bearing
                       serial number: ZFL05003
                   o. EWS, E-15, .300 caliber AR pistol, bearing serial number: E15-00059

          All in violation of 18 U.S.C. § 371 and 18 U.S.C. §§ 922(u) and 924(i)(l).


                                               Count Two

                                                Violation: 18 U.S.C. §§ 371, 9220) & 2
                                                (Conspiracy to Receive, Possess, Conceal and
                                                Dispose of Stolen Firearms; Aiding and
                                                Abetting)

          Beginning on or about April 10, 2021, the exact date being unknown to the Grand

 Jury, through and including the date of the filing of this indictment, in the Eastern District

 of Texas, and elsewhere, defendants, ALFRED LEE MASSIE JR., ID SIOMMONS

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 MASSIE and ANTHONY WAYNE JONES JR., did knowingly and willfully combine,

 conspire and agree with each other and other persons known and unknown to the United

 States Grand Jury to knowingly receive, possess, conceal, store, barter, sell, and dispose

 of stolen firearms, all of which had been previously shipped and transported in interstate

 commerce, in violation of 18 U.S.C. §§ 922(j) and 924(a)(2).

                       MANNER AND MEANS OF THE CONSPIRACY

          It was part of the conspiracy that the defendants, along with other persons known

 and unknown to the Grand Jury, would and did:

              1. The manner and means of the conspiracy are described in paragraphs 1-5

                  of Count One, which are incorporated herein.

                                              OVERT ACTS

          In furtherance of the conspiracy and to affect the objects thereof, the defendants,

 along with other persons known and unknown to the Grand Jury, committed the

 following overt acts, among others, in the Eastern District of Texas:

             2. The overt acts are described in paragraphs 6 - 9 of Count One, which are

                  incorporated herein.


          All in violation of 18 U.S.C. § 371 and 18 U.S.C. §§ 922(j) and 924(a)(2).




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                                               Count Three

                                                             Violation: 18 U.S.C. §§ 922(j) & 2
                                                             (Possession of a Stolen Firearm or
                                                             ammunition; Aiding and Abetting)

          On or about April 19, 2021, in the Eastern District of Texas, the defendant,

 ALFRED LEE MASSIE JR., ID SIOMMONS MASSIE and ANTHONY WAYNE

 JONES JR., aided and abetted by each other and by others both known and unknown to

 the Grand Jury, knowingly received, possessed, concealed and stored stolen firearms, all

 of which had been previously shipped and transported in interstate commerce, while

 knowing and having reasonable cause to believe the firearms were stolen, in violation of

 18 U.S.C. §§ 922(j) & 2.


               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                    Criminal Forfeiture Pursuant to 18 U.S.C. § 924(d)

           As a result of committing the felony offense in violation of 18 U.S.C. §§ 922(u)

 and ) alleged in this First Superseding Indictment, defendants, ALFRED LEE MASSIE

 JR., ID SIOMMONS MASSIE and ANTHONY WAYNE JONES JR., shall forfeit to the

 United States, pursuant to 18 U.S.C. § 924(d), all firearms and ammunition involved in

 the offense, including but not limited to the following:

     1. KEL-TEC, PMR-30, .22 caliber pistol, bearing serial number: WY0F40
     2. TAURUS, GC3, 9mm pistol, bearing serial number: ACC653444
     3. BERETTA, 92A1, 9mm pistol, bearing serial number: BIN017371
     4. SMITH&WESSON, PC M&P SF, 9mm pistol, bearing serial number: JFS5435
     5. GLOCK, G48 MOS, 9mm pistol, bearing serial number: BSNW335
     6. GLOCK, G45, 9mm, bearing serial number: BTHA785
     7. GLOCK, G44, 9mm pistol, bearing serial number: AFFV423

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     8. CZ, SHADOW 2, 9mm pistol, bearing serial number: F000309
     9. HK, VP9L OR, 9mm pistol, bearing serial number: 238-009769
     10. HK, P30S, 9mm pistol, bearing serial number: 129-095857
     11. HK, VP9 Green, 9mm pistol, bearing serial number: 224-318173
     12. HK, VP9 FDE, 9mm pistol, bearing serial number: 224-313606
     13. HK, HK45-V1, .45 caliber pistol, bearing serial number: HKU-054116
     14. ZEV TECHNOLOGIES, AR15-CE-30, .300 caliber AR pistol, bearing serial number:
          ZFL05003
     15. EWS, E-15, .300 caliber AR pistol, bearing serial number: E15-00059

     16. Any ammunition related to this case.

                  By virtue of the commission of the offenses alleged in this First

 Superseding Indictment, any and all interest the defendants have in the above-described

 property is vested in and forfeited to the United States.



                                                     A TRUE BILL




                                                     FOREPERSON


 NICHOLAS J. GANJEI
 ACTING UNITED STATES ATTORNEY



                                                     Date: June , 2021.




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

 UNITED STATES OF AMERICA §
                                                  §
 v.       §      No.             4:21-CR-125
                                                  § Judge Jordan
 ALFRED LEE MAS SIE JR. (1) §
 ID SIOMMONS MASSIE (2) §
 ANTHONY WAYNE JONES JR. (3) §


                                       NOTICE OF PENALTY

                                         Counts One and Two

 Violation: 18 U.S.C. §§ 371, 922(u), 922(j) & 2

 Penalty: Imprisonment of not more than 5 years, a fine not to exceed $250,000, or
                 both; a term of supervised release of not more than three years.

 Special Assessment: $ 100.00
                                             Count Three



 Violation: 18 U.S.C. § 9220)

 Penalty: Imprisonment for a term of not more than ten years and a fine of not more
                 than $250,000 or both; supervised release of not more than 3 years.

 Special Assessment: $100.00




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